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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §
 versus                                              § CRIMINAL ACTION NO. 4:07-CR-77(13)
                                                     §
 THOMAS PAUL RAMIREZ                                 §


                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

          Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28

 U.S.C.§636. On January 23, 2008, the report of the Magistrate Judge was entered containing

 proposed findings of fact and recommendations that Defendant’s Motion to Suppress Statement

 (Dkt. 225) be DENIED.

          Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of

 the Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings

 and conclusions of the Court.

          It is, therefore, ORDERED that the Defendant’s Motion to Suppress Statement (Dkt.

 225) is DENIED.
         .
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 13th day of February, 2008.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
